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                         COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, ss                                                             SUPERIOR COURT
                                                                               TRIAL DEPT.

****************************************
Jessica Lunn,

                Plaintiff,                             CIVIL NO. 2281CV03132

vs.

Rail Trail Flatbread Co. et al,

                Defendants.

****************************************
                   WAIVER AND ACCEPTANCE OF SERVICE

         I, Michael Stefanilo Esq., hereby certify that I am counsel to the above-named Defendants,

Rail Trail Flatbread Company, Jason Kleinerman, Vanessa Gilchrest, and Luke Doherty

(collectively, “Defendants”) and that on the 26th day of September 2022, I accepted service of the

following documents in the above-captioned matter and waive service pursuant to Mass. R. Civ.

P. 4 on behalf of the Defendants:

      1. A copy of Plaintiff Jessica Lunn’s Complaint;

      2. A copy of the Civil Action Cover Sheet; and

      3. An endorsed copy of Plaintiff’s Motion to Appoint Special Process
         Server.

                                              Respectfully submitted,

                                              _________________________________
                                              Michael Stefanilo, Esq.
                                              BHPK Law
                                              699 Boylston St.
                                              12th Floor
                                              Boston, MA 02116
                                              Tel. 617-880-7100
                                              Fax 617-880-7171
                                              mstefanilo@bhpklaw.com
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                                CERTIFICATE OF SERVICE

       I, Michael Stefanilo, certify that I served a true and accurate copy of the above Waiver and

Acceptance of Service upon counsel for Plaintiff via e-mail per the parties’ agreement to accept
                                                  26th day of ________________
service of papers via electronic service on the ______         September       2022.

                                                     ________________________
                                                           Michael Stefanilo
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                                          COMMONWEALTH OF MASSACHUSETTS

                Middlesex, ss                                                          SUPERIOR COURT
                                                                                       TRIAL CT. DEPT.
                ____________________________________

                JESSICA LUNN,

                         Plaintiff,

                v.
                                                             CASE NO.:
                RAIL TRAIL FLATBREAD CO.,
                JASON KLEINERMAN,
                VANESSA GILCHREST, AND                                          8/22/2022        HG
                LUKE DOHERTY
                                                                        JURY TRIAL DEMANDED

                         Defendants.

                _____________________________________

                                                         COMPLAINT

                         COMES NOW, Plaintiff, Jessica Lunn (“Ms. Lunn”), by and through undersigned counsel,

                to file this Complaint against the defendants, Rail Trail Flatbread Co. (“Rail Trail”), Jason

                Kleinerman, Vanessa Gilchrest, and Luke Doherty (collectively, “Defendants”) for their decision

                to terminate Ms. Lunn in violation of Mass. Gen. Laws ch. 151B, § 4 (the Massachusetts Fair

                Employment Practices Act) and 49 U.S.C. § 12112 (Americans with Disabilities Act (“ADA”)),

                and for violations of the Fair Labor Standards Act (“FLSA”) overtime provisions. She makes this

                complaint upon information and belief, except as to her own actions, and states as follows.

                                                         OVERVIEW

                     1. Through this action, the Plaintiff seeks to recover damages arising from the Defendants’

                discriminatory and retaliatory conduct and their failure to pay overtime compensation for hours

                worked over 40 in a workweek in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

                §§ 201, et seq.
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                     2. Plaintiff seeks to recover back and front pay and employment benefits, unpaid overtime

                wages, liquidated damages, emotional distress damages, punitive damages, prejudgment interest,

                attorneys’ fees and costs, and any other relief permitted by law.

                                                          THE PARTIES

                     3. Ms. Lunn was at all times material hereto a citizen of Massachusetts and a resident of

                Clinton, Massachusetts.

                     4. Upon information and belief, Defendant Rail Trail is a domestic for-profit limited liability

                company doing business in Massachusetts, which engages in the business of operating restaurants.

                Rail Trail has a principal office in Hudson, Massachusetts. At all times relevant to this complaint,

                Rail Trail employed more than fifteen employees.

                     5. Jason Kleinerman is a member of the membership group that owns Rail Trail. Mr.

                Kleinerman is domiciled in Hudson, Massachusetts. Upon information and belief, Mr. Kleinerman

                is responsible for making decisions and implementing policies concerning Rail Trail’s

                classification of workers as exempt or non-exempt.

                     6. Vanessa Gilchrest is one of Rail Trail’s managers. She is domiciled in Northborough,

                Massachusetts.

                     7. Luke Doherty is also one of Rail Trail’s managers. He is also domiciled in Northborough,

                Massachusetts.

                                                              FACTS

                     8. On or about April 26, 2021, Rail Trail hired Ms. Lunn to work as a full-time server at its

                restaurant located at 33 Main Street in Hudson, Massachusetts.

                     9. Because Rail Trail is in the hospitality industry, providing exemplary service to guests was

                the most important aspect of Ms. Lunn’s job.



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                     10. Ms. Lunn has Type I diabetes.

                     11. When Ms. Lunn is on her feet for an extended period of time without a break, it can cause

                her blood sugar to drop resulting in a myriad of symptoms and side effects.

                     12. During the course of her employment with Rail Trail, Rail Trail regularly scheduled Ms.

                Lunn to work shifts longer than ten hours.

                     13. Ms. Lunn brought the health issues caused by those long shifts to the attention of her

                manager, Vanessa Gilchrest, and asked not to be scheduled for shifts longer than ten hours.

                     14. Despite many requests, Ms. Gilchrest largely ignored Ms. Lunn and continued to schedule

                her for longer shifts than her health could bear.

                     15. On July 12, 2021, Ms. Lunn informed Defendant Gilchrest that she could not work the

                entirety of her scheduled shift because of her disability.

                     16. When Ms. Lunn left her shift because of her disability, Defendant Gilchrest wrote Ms.

                Lunn a written warning.

                     17. On another occasion, Ms. Gilchrest acknowledged Ms. Lunn’s request for an

                accommodation, stated that she would accommodate the request, but nevertheless failed to follow

                through on that commitment.

                     18. From April 26, 2021 through her termination, Ms. Lunn worked on average between fifty

                (50) and sixty (60) hours per week.

                     19. During that time, Rail Trail never paid Ms. Lunn overtime compensation for the hours she

                worked over forty in a workweek.

                     20. Because of Ms. Gilchrest’s failure to take Ms. Lunn’s health risks seriously, in early

                September of 2021 Ms. Lunn spoke to another Rail Trail manager, Dave L., about her condition.




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                     21. Dave told Ms. Lunn that he would speak with other Rail Trail managers about her

                accommodation request.

                     22. When Ms. Lunn arrived at work for her next scheduled workday, she clocked in for her

                shift.

                     23. At that time, Mr. Doherty asked Ms. Lunn to meet him in his office. During that meeting,

                Luke said to Ms. Lunn, “We hired you to be a manager in training. That is not going to work. We

                cannot find a spot on our staff for you, so we are letting you go.”

                     24. After Ms. Lunn questioned Mr. Doherty about why she could not stay on as a waitress or

                in another position, he responded by saying, “you are always trying to dump tables and leave

                early.”

                     25. Upon information and belief, Mr. Doherty learned of Ms. Lunn’s request for an

                accommodation from his wife and Ms. Lunn’s manager, Ms. Gilchrest.

                     26. That same day, Rail Trail used Ms. Lunn’s disability against her when it terminated her

                employment.

                     27. Ms. Lunn was and is qualified and capable of performing the essential functions of her job

                had Rail Trail accommodated her request to work shorter shifts.

                     28. Because of Defendants’ actions, Ms. Lunn has been damaged in the form of, inter alia: lost

                back and future pay and benefits, unpaid overtime compensation, and has suffered emotional

                distress.

                     29. Ms. Lunn filed an administrative charge with the Massachusetts Commission Against

                Discrimination on January 20, 2022 and withdrew it on April 25, 2022.




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                                                           Count 1:
                     Violations of Mass. Gen. Laws ch. 151B, § 4 (Failure to Accommodate, Discrimination,
                                Interference, and Retaliation pursuant to the Massachusetts Fair
                            Employment Practices Act) — Against Rail Trail, Gilcrest, and Doherty)

                     30.        Ms. Lunn alleges that Rail Trail, Gilchrest, and Doherty violated the Massachusetts

                Fair Employment Practices Act, codified at Mass. Gen. Laws ch.151B, § 4. Ms. Lunn incorporates

                by reference paragraphs 1-29 above as if set forth herein.

                     31.        As set forth above, Rail Trail, Gilchrest, and Doherty knew that Ms. Lunn suffered

                from a serious medical condition that substantially impaired her major life activities, including her

                ability to stand and work for long periods of time.

                     32.        Ms. Lunn requested a reasonable accommodation that was acknowledged and then

                unlawfully ignored by Ms. Gilchrest and known and unlawfully used against her by Rail Trail,

                Gilchrest, and Doherty.

                     33.        Rail Trail, Gilchrest, and Doherty egregiously and unlawfully discriminated and

                retaliated against Ms. Lunn by (i) failing to accommodate Ms. Lunn’s request for an

                accommodation and (ii) unlawfully terminating her employment because of that disability and

                request for an accommodation.

                     34.        At all relevant times, Ms. Lunn was capable of performing the essential functions of

                her job with an accommodation that was reasonable.

                     35.        As a result of Rail Trail, Gilchrest, and Doherty unlawful conduct, Ms. Lunn has

                suffered damages. Ms. Lunn seeks damages from Rail Trail, Gilchrest, and Doherty including lost

                back and future pay and benefits, prejudgment interest, emotional distress damages, punitive

                damages, and costs and attorneys’ fees associated with bringing this action.




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                                                            Count 2
                                    Violations of 49 U.S.C. § 12112 (Failure to Accommodate,
                           Unlawful Disclosures, Discrimination, Interference, and Retaliation pursuant
                       to the Americans with Disabilities Act) — Against Rail Trail, Gilchrest, and Doherty

                     36.        Ms. Lunn alleges that Rail Trail, Gilchrest, and Doherty violated the Americans with

                Disabilities Act, codified at 49 U.S.C. § 12112 et seq. Ms. Lunn incorporates by reference

                paragraphs 1-29 above as if set forth herein.

                     37.        As set forth above, Rail Trail, Gilchrest, and Doherty knew that Ms. Lunn suffered

                from a serious medical condition that substantially impaired her major life activities, including her

                ability to stand and work for long periods of time.

                     38.        Ms. Lunn requested a reasonable accommodation that was (i) acknowledged and then

                unlawfully ignored by Ms. Gilchrest, and (ii) unlawfully disclosed by Ms. Gilchrest to her

                husband, Luke, who had no reason to be involved with Ms. Lunn’s request for a reasonable

                accommodation.

                     39.        Rail Trail, Gilchrest, and Doherty egregiously and unlawfully discriminated and

                retaliated against Ms. Lunn by (i) failing to accommodate Ms. Lunn’s request for an

                accommodation; (ii) unlawfully sharing information obtained from Ms. Lunn in pursuit of her

                accommodation request; and (iii) unlawfully terminating her employment.

                     40.        At all relevant times, Ms. Lunn was capable of performing the essential functions of

                her job with an accommodation that was reasonable.

                     41.        As a result of Rail Trail, Gilchrest, and Doherty’s unlawful conduct, Ms. Lunn has

                suffered damages. Ms. Lunn seeks damages from Rail Trail, Gilchrest, and Doherty including lost

                back and future pay and benefits, emotional distress damages, prejudgment interest, punitive

                damages, and costs and attorneys’ fees associated with bringing this action.




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                                                             Count 3
                               Violations of the Fair Labor Standards Act (Overtime Violations) –
                                                Against Rail Trail and Kleinerman

                     42.        Ms. Lunn alleges that Rail Trail and Kleinerman violated the Fair Labor Standards

                Act, codified at 29 U.S.C. § 201 et seq. Ms. Lunn incorporates by reference paragraphs 1-29 above

                as if set forth herein.

                     43.        At all times during her employment with Rail Trail, Ms. Lunn was a non-exempt

                employee under the FLSA.

                     44.        By their conduct as set forth herein, Rail Trail and Kleinerman have violated the

                FLSA by failing to pay Ms. Lunn overtime compensation for hours worked more than forty in a

                workweek.

                     45.        Rail Trail and Kleinerman are liable for the full amount of the Plaintiff’s unpaid

                overtime compensation, liquidated damages, costs and reasonable attorney’s fees, and

                prejudgment interest.

                                                      RELIEF REQUESTED

                           WHEREFORE, Plaintiff Jessica Lunn prays that this Court enter judgment against

                Defendants for their violations of Mass. Gen. Laws Ch. 151B, the Americans with Disabilities

                Act, and the Fair Labor Standards Act and that it award her:

                     A. damages for her lost back and front pay and lost employment benefits;

                     B. damages for emotional distress;

                     C. punitive damages pursuant to Chapter 151B and the Americans with Disabilities Act;

                     D. unpaid overtime compensation;

                     E. liquidated damages pursuant to the FLSA;

                     F. prejudgment interest;



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                    G. costs and reasonable attorneys’ fees associated with bringing this action;

                    H. any further relief that the Court deems just and proper.

                                                         Respectfully submitted

                                                         on behalf of
                                                         Plaintiff, Jessica Lunn,

                                                         _Eric J. Walz___________________
                                                         Eric J. Walz (BBO# 687720)
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